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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA

 SYMBOLOGY INNOVATIONS, LLC,
                                                       Civil Action No.: 8:20-cv-02060-CEH-JSS
             Plaintiff,

       v.                                              TRIAL BY JURY DEMANDED

 NOZZTEQ INC.,

              Defendant.

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Now comes Plaintiff, Symbology Innovations, LLC, by and through its counsel, pursuant

to Fed. R. Civ. P. 41(a)(1)(A)(i), and hereby voluntarily dismisses all of the claims asserted against

Defendant Nozzteq Inc. in the within action WITH PREJUDICE. Nozzteq Inc. has not served an

answer or a motion for summary judgment.

 Dated: January 14, 2021                  Respectfully submitted,

                                          SAND, SEBOLT & WERNOW CO., LPA

                                          /s/ Howard L. Wernow
                                          Howard L. Wernow, B.C.S.
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                                          Florida Bar

                                          ATTORNEY FOR PLAINTIFF
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document

has been served on January 14, 2021, to all counsel of record who are deemed to have consented

to electronic service via the Court’s CM/ECF system.


                                                   /s/ Howard L. Wernow
                                                   Howard L. Wernow




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